                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


ANTOINETTE L. TIMS,           )
                              )
                 Plaintiff,   )
                              )
v.                            )                             Civil Action No. 13-CV-357-FDW-DCK
                              )
CAROLINAS HEALTHCARE SYSTEM1, )
d/b/a CHARLOTTE OB & GYN      )
ASSOCIATES – ARBORETUM, and   )
KARI VANDERWERKEN,            )
                              )
                 Defendants.  )


          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT KARI
    VANDERWERKEN’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                UPON WHICH RELIEF CAN BE GRANTED

        This is a case involving alleged employment discrimination brought by Antoinette L.

Tims (“Plaintiff”), arising “pursuant to Title VII of the Civil Rights Act of 1964, as amended [42

U.S.C. § 2000e et seq.]” against Defendants “Carolinas Healthcare System” and “Kari

Vanderwerken.” (Doc. No. 1-1 at ¶¶ 2-4). As explained more fully below, the Court should

grant this motion to dismiss and enter judgment for Defendant Vanderwerken because individual

supervisors are not liable under Title VII. Lissau v. Sothern Food Service, Inc., 159 F.3d 177,

180 (4th Cir. 1998). For the reasons explained below, the Complaint fails to state a claim for

relief against Defendant Vanderwerken.




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  The Charlotte-Mecklenburg Hospital Authority does business as Carolinas HealthCare System. Because Plaintiff
has named Carolinas Healthcare System as the Defendant in this action, Defendant will be referred to as “CHS.”
However, Plaintiff’s employer was the Charlotte-Mecklenburg Hospital Authority which is the proper Defendant in
this action.




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                                    I.     SUMMARY OF COMPLAINT

         The Complaint “is brought pursuant to Title VII of the Civil Rights Act of 1964, as

amended [42 U.S.C. § 2000e et seq.].” (Id. at ¶ 4). According to Plaintiff’s Complaint, she “was

employed by Defendant Carolinas Healthcare System as a receptionist at Charlotte OB & GYN

Associates.” (Id. at ¶ 5). The Complaint identifies Defendant Vanderwerken as “Plaintiff’s

supervisor.”      (Id.).   Only “Defendant Carolinas Healthcare System…” is identified in the

Complaint as Plaintiff’s employer. (Id.). Defendant Vanderwerken is also described as “office

manager at Charlotte OB & Gyn Associates.” Yet, Kari Vanderwerken is identified as an

individual defendant in the Complaint even though the Complaint identifies Vanderwerken as

“an office manager at Charlotte Ob & Gyn Associates.” (Id. at ¶ 3).

         The Complaint solely alleges that its jurisdictional basis is “Title VII of the Civil Rights

Act of 1964, as amended.” (Id. at ¶ 4). More specifically, the Complaint alleges that “Plaintiff is

an African-American female and a member of a protected class…” and that Plaintiff was subject

to “racially discriminatory remarks.” (Id. at ¶¶ 5-6). Plaintiff’s EEOC charge only identifies

“Carolinas Healthcare System-Charlotte OB/GYN-Aboretum (sic)” as her employer. (Exhibit A,

Plaintiff’s EEOC Charge)2. Ms. Vanderwerken is not named as an employer in the EEOC

charge. (Id.).

                              II.        RULE 12(b)(6) LEGAL STANDARD

         Fed. R. Civ. P. 12(b)(6) requires dismissal of all or part of a complaint if it “fail[s] to

state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). This Court reviews

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  In reviewing a 12(b)(6) motion to dismiss, in addition to the Complaint and its attachments, the Court may
consider documents “attached to the motion to dismiss, so long as they are integral to the complaint and authentic.”
Philips v. Pitt County Memorial Hosp., 572 F.3d 176, 181 (4th Cir. 2009). In the context of an employment
discrimination claim, “[t]he Court may take judicial notice of both the Plaintiff’s EEOC charge and the EEOC’s
right to sue letter, as both documents are integral to and explicitly relied on in the Complaint, without converting the
instant motion in a motion for summary judgment.” Winegard v. Pasciolla, No. 1:11CV100, 2012 WL 112226, at
n.2 (W.D.N.C. Jan. 12, 2012) (citing Phillips v. LCI Int'l, Inc., 190 F.3d 609, 618 (4th Cir. 1999); Brown v. Inst. for
Family Centered Servs., Inc., 394 F.Supp.2d 724, 729 n. 2 (M.D.N.C. 2005)).

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motions under Rule 12(b)(6) by “tak[ing] the allegations in the complaint as true, and

constru[ing] the facts alleged in the complaint in the light most favorable to the plaintiff.” North

Carolina ex rel v. Howard, 323 F. Supp. 2d 675, 678 (W.D.N.C. 2003). A Rule 12(b)(6) motion

must be granted where “it appears beyond doubt that the plaintiffs can prove no set of facts in

support of their claim that would entitle them to relief.”             Jackson v. Blue Dolphin

Communications of N.C., L.L.C., 226 F. Supp. 2d 785, 788-89 (W.D.N.C. 2002).

                                      III.    ARGUMENT

           a.    Dismissal is Proper Because There is No Title VII Liability for Individual
                 Defendants

       It is well settled under Title VII that there is no liability for individual supervisors and

other employees because they are not employers within the meaning of that statute. Under Title

VII, the Fourth Circuit has specifically held “that supervisors are not liable in their individual

capacities for Title VII violations.” Lissau v. Southern Food Service, Inc., 159 F.3d 177, 180

(4th Cir. 1998); see also Jackson v. Carolinas Healthcare System, 2007 WL 4287749, *4-5

(W.D.N.C. Dec. 5, 2007) (Keesler, M.J.) (following Lissau and granting summary judgment to

defendant dismissing all individual defendants from the case); Haggins v. Carolinas Medical

Center-Mercy, 2009 WL 2168883, *1 (W.D.N.C. July 17, 2009) (Mullen, J.) (following Lissau

and granting 12(b)(6) motion dismissing all individual defendants from the case); Williams v.

Carolinas Healthcare System, 2010 WL 3386020, *1 (W.D.N.C. Aug. 25, 2010) (following

Lissau and granting 12(b)(6) motion dismissing all individual defendants from the case). As this

Court and the Fourth Circuit have previously held, Title VII applies solely to “employers” which,

in this case, is only CHS. The Fourth Circuit and this Court have unambiguously held that there

is no liability for individual supervisors and other employees under Title VII. Thus, there is no

set of facts which Plaintiff could prove that would result in liability for Ms. Vanderwerken.

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Accordingly, this Court must dismiss all claims against Defendant Vanderwerken with prejudice

because she is not liable as an individual supervisor under Title VII.

           b.    Dismissal is Proper Because There is No Liability for Individuals Not
                 Named in the EEOC Charge as Employers

       While there is no legal basis for individual liability under Title VII, this case should also

be dismissed against Defendant Vanderwerken because she is not named as an employer in the

charge of discrimination. The Fourth Circuit has held that “[u]nder Title VII… a civil action

may be brought only against the respondent named in the charge.” Causey v. Balog, 162 F.3d

795, 800 (4th Cir. 1998). This additional limitation on who may be held liable under Title VII is

based on the mandatory EEOC charge filing requirement found in the statute. This EEOC

charge mandate is designed to put “the charged party on notice of the complaint and allow[] the

EEOC to attempt reconciliation.” Id. In this case, the only respondent identified in the EEOC

charge is “Carolinas Healthcare System-Charlotte OB/GYN-Aboretum (sic).”              (Exhibit A).

Consequently, there was no opportunity for Defendant Vanderwerken to receive notice of the

complaint and participate in any reconciliation efforts fostered by the EEOC. Therefore, under

Causey, Defendant Vanderwerken must be dismissed from this case with prejudice since she

“may not be held personally liable for any alleged violations of Title VII” where, as here, she

was not named as a respondent in the EEOC charge. Causey, 162 F.3d at 801.

                                       IV.     CONCLUSION

       As explained above, even assuming all facts alleged in the Complaint are true, and

drawing all inferences in favor of the Plaintiff, there is no legal basis for the claims brought in

the Complaint against Defendant Vanderwerken.             As described in the Complaint, Ms.

Vanderwerken was not Plaintiff’s employer under Title VII.           Rather, she was allegedly a

supervisor and Plaintiff’s fellow employee. Thus, Ms. Vanderwerken cannot be held personally

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liable for any alleged violations of that statute.      Likewise, even assuming Defendant

Vanderwerken could be personally liable under Title VII, she was not named as a respondent in

the EEOC charge which prevents Plaintiff from suing her in this action. Consequently, this

Court should grant Defendant’s Motion and dismiss all claims brought against Defendant

Vanderwerken with prejudice.

       Respectfully submitted this 14th day of June, 2013.


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                           CERTIFICATE OF COMPLIANCE

       The undersigned hereby certifies that the foregoing “MEMORANDUM OF LAW IN

SUPPORT OF DEFENDANT KARI VANDERWERKEN’S MOTION TO DISMISS FOR

FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED” filed on June

14, 2013 complies with Paragraph 3(b)(vi) of Standing Order Governing Civil Case Management

Before the Honorable Frank D. Whitney, Misc. No. 3:07-MC-47 (Doc. No. 2).


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing “MEMORANDUM OF

LAW IN SUPPORT OF DEFENDANT KARI VANDERWERKEN’S MOTION TO DISMISS

FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED” in the

above-captioned proceeding has been electronically filed by the foregoing with the Clerk of

Court using the CM/ECF system which will automatically send notification to the following:


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       This the 14th day of June, 2013.


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